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                Exhibit 13
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                           Litigation Expense Fund/Future Expense Fund Expenditures
                                      Inception through September 15, 2015
EXPERTS/ CONSULTANTS/INVESTIGATORS
applEcon                                                 $    4,963,696.08
Decision Quest                                           $      673,530.39
Trial Technologies                                       $       36,125.00
Pels Rijcken & Droogleever                               $       10,646.70
Epstein Associates                                       $        3,642.11
Info Tech                                                $        2,825.00
L.R. Hodges                                              $        2,892.68
Other Experts and Consultants/Investigators              $       74,242.50

Total Experts/Consultants                                                    $        5,767,600.46


SPECIAL MASTERS
JAMS (Judge Legge)                                       $      144,772.55
Federal Arbitration, Inc. (Judge Walker)                 $       26,709.25

Total Special Masters                                                        $         171,481.80

MEDIATORS
Federal Arbitration, Inc. (Judge Walker)                 $       20,330.00
JAMS ( Judge Fern Smith)                                 $        5,225.00

Total Mediators                                                              $          25,555.00

DOCUMENT DEPOSITORY/MANAGEMENT
Relativity                                               $      555,766.06
K Cura                                                   $       30,171.00
Ricoh                                                    $       19,064.97
Baker Botts                                              $        9,969.39
Wikispace Storage                                        $        4,000.00
Tech Data                                                $        3,200.00
Philips Computer Forensics                               $        3,044.23
Ikon SAF                                                 $        2,708.67
PC Connection                                            $        1,000.00
Alphalit                                                 $        2,158.14
Other Document Depository/Management                     $        5,848.67

Total Document Depository/Management                                         $         636,931.13
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                          Litigation Expense Fund/Future Expense Fund Expenditures
                                     Inception through September 15, 2015
TRANSLATIONS
Consortra Translations                                  $      113,824.58
Park Translations                                       $       22,521.00
Dae Lim                                                 $        3,000.00
Translations by Design                                  $        2,610.00
Other Translations                                      $          544.50

Total Translations                                                          $         142,500.08

COURT REPORTERS/DEPOSITION TRANSCRIPTS
Veritext                                                $      100,009.41
Barkley Court Reporters                                 $       12,259.40
US Legal                                                $        7,257.53
DTI                                                     $        3,769.53
Other Court Reporteers/ Deposition Transcripts          $        2,578.82

Total Court Reporters/Deposition Transcripts                                $         125,874.69

DEPOSITION FACILITES RENTAL/TRAVEL
Facilities Rental                                       $       13,528.17
Travel                                                  $        5,337.61

Total Deposition Facilities Rental/ Travel                                  $          18,865.78

FILING/WITNESS FEES/ SERVICE OF PROCESS
Court Filings                                           $        3,696.10
Service of Process                                      $        1,136.73
Witness Fees                                            $          264.47

Total Filing/Witness Fees/Service of Process                                $            5,097.30


CONFERENCE CALLS                                                            $            1,487.40

MISCELLANEOUS                                                               $            5,484.38

Total Litigation Expense Fund/Future Expense Fund
Expenditures Incurred from Inception through
September 15, 2015                                                          $        6,900,878.02
